             Case 3:16-cv-03495-D Document 39 Filed 03/12/19                           Page 1 of 1 PageID 471
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                     Northern District
                                                  __________  District of
                                                                       of __________
                                                                          Texas


                    GEORGE ANIBOWEI                               )
                             Plaintiff                            )
                                v.                                )      Case No.     3:16-CV-3495-D
                          BARR et al.                             )
                            Defendant                             )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          George Anibowei                                                                                                      .


Date:          03/12/2019                                                           /s/ Jayce Lane Born
                                                                                              Attorney’s signature


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